Case 2:04-Cr-20256-.]WIMLMIMZDII§MMZQ/§§Rfage 1 of 2 Page|D 195
FOR THE

wEsTERN DISTRICT oF TENNESSEE app =_ CAM>H¢¢\

WESTERN DIVI SION

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UNITED STATES OF AMERICA,

  

cR. No. 04-2025€-M1~¢3»[
VS. n

~_)v~..¢~._¢\-._¢

ARIC BADY, SR.,
APPLICATION, ORDER and WRIT FOR HABEAS CORPUS AD PROSEQUENDUM

CARROLL L. ANDRE, Assistant United States Attorney, applies to the Court
for a Writ to have ARIC BADY, SR., R&I # 223557, Booking # 05109221, DOB 3/14/72,
SSN# XXX-XX-XXXX, now being detained in the Shelby Count:y Jail, Memphis,
Tennessee, appear before the Honorable Jon Phipps McCalla on Thursday, June 2,
2005, at 2:30 p.m. for a sentencing hearing and for such other appearances as
this Court may direct.

Respec:tfully submitted this ZHRday of May, 2005.

M¢ A~/,Q/ F

CARROLL L. ANDRE
ASSISTANT UNITED STATES ATTORNEY

...................§..§...................¢.............

Upon consideration of the foregoing Application, DAVID G. JOLLEY, U.S.
MARSHAL, WESTERN DISTRICT OF TENNESSEE, MEMPHIS, TN, SHERIFF/WARDEN, SHELBY
COUNTY JAIL, MEMPHIS, TENNESSEE.

'YOU ARE HEREBY COMMANDED to have ARIC BADY, SR. appear before the Honorable

Jcn Phipps McCalla at the date and time aforementioned.

ENTERED this £UIM/‘day of May, 2005.
/© ,/M'/uv g Z///A/I/

DIANE VESCOVO
UNITED STATES MAGISTRATE JUDGE

Thls document entered on the docket sheet ln compliance

with ama 55 and/or 32(1>) FRch on w

 

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UNITED `SATES DISTRIC COURT - WTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 142 in
case 2:04-CR-20256 Was distributed by faX, mail, or direct printing on
May 23, 2005 to the parties listed.

 

 

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

.1 uni S. Ganguli

LAW OFFICES OF .TUNI GANGULI
40 S. Main Ave.

Ste. 1540

1\/1emphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

